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 1                                NOTE: CHANGES MADE BY THE COURT
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10                           UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
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13 ANTONIO NAVARRETE,                         Case No. 8:19-cv-00794-JLS-KES
   individually and on behalf of all others
14 similarly situated,

15                  Plaintiffs,
16        v.
                                              ORDER RE: AMENDED NOTICE
17 SPRINT/UNITED MANAGEMENT                   OF CLASS ACTION SETTLEMENT
   COMPANY, a Kansas Corporation;             (Doc. 50)
18 SPRINT CORPORATION, a Kansas
   Corporation; and DOES 1-50,
19 inclusive,

20                  DEFENDANTS.
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 1                                         ORDER
 2         Having reviewed and considered the Parties’ submission of the Amended Notice
 3   of Class Action Settlement filed on August 23, 2021 (Doc. 50), and with GOOD
 4   CAUSE APPEARING, the Court HEREBY APPROVES the Amended Notice of Class
 5   Action Settlement with the following modifications:
 6         1. On page 1 of the Amended Notice of Class Action Settlement, the Parties shall
 7            replace “Around April 21, 2021” with “Several months ago.” (Ex. A at 1,
 8            Doc. 50.)
 9         2. The Parties shall add a final sentence to the second paragraph of Section 5
10            (page 3) of the Amended Notice of Class Action Settlement that reads “Any
11            such objection must be filed in the timeframe and manner set forth in Section
12            8 below.”
13         3. In Section 7 (page 5) of the Amended Notice of Class Action Settlement, the
14            Parties shall include a period between “number” and “Either.” (Id. at 5.)
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     IT IS SO ORDERED.
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     Dated:      August 27, 2021          JOSEPHINE L. STATON
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                                           HON. JOSEPHINE L. STATON
20                                         UNITED STATES DISTRICT JUDGE
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